          Case 1:06-cr-00171-DAD Document 406 Filed 08/15/08 Page 1 of 3


 1   McGREGOR W. SCOTT
     United States Attorney
 2   LAUREL J. MONTOYA
     Assistant U.S. Attorney
 3   2500 Tulare Street, Suite 4401
     United States Courthouse
 4   Fresno, California 93721
     Telephone: (559)497-4000
 5
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   1:06-CR-0171 OWW
                                           )
12                       Plaintiff,        )
                                           )   FINAL ORDER OF FORFEITURE
13        v.                               )
                                           )
14   GEORGE BUCHHOLZ,                      )
                                           )
15                       Defendant.        )
                                           )
16
17        WHEREAS, on or about February 28, 2008, this Court entered a
18   Preliminary Order of Forfeiture pursuant to the provisions of 21 U.S.C.
19   § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c), based upon the plea
20   agreement entered into between plaintiff and defendant George Buchholz
21   forfeiting to the United States the following property:
22             a.     A 2006 BMC Bobber 88 Motorcycle,              VIN:
                      1B9HB28806B5650501/, Paper Tags;
23
               b.     A 2000 Suzuki Hayabusa GSX 1300 Motorcycle,
24                    VIN:   JS1GW71A6Y2107464,  License   Number
                      17S3017;
25
26
27   1/ The VIN on this motorcycle has been listed in two different ways
        through this litigation.   The correct VIN is as listed here:
28      1B9HB28806B565050.

                                           1
           Case 1:06-cr-00171-DAD Document 406 Filed 08/15/08 Page 2 of 3


 1              c.    Approximately $3,100.00       in   United    States
                      Currency; and,
 2
                d.    One Savage Arms, .20 gauge shotgun, Kimel
 3                    Kamper Model KKI, serial number D455526.
 4         AND WHEREAS, on March 17, 24, and 31, 2008, the United States
 5   published notice of the Court’s Order of Forfeiture in The Business
 6   Journal (Fresno County), a newspaper of general circulation located in
 7   the county in which the above-listed properties were seized.           Said
 8   published notice advised all third parties of their right to petition
 9   the Court within thirty (30) days of the publication date for a hearing
10   to adjudicate the validity of their alleged legal interest in the
11   forfeited properties;
12         AND WHEREAS, the United States sent direct written notice by
13   certified mail to the following persons or entities known to have an
14   alleged interest in the above-listed properties: Freedom Rider of
15   Fresno;
16         AND WHEREAS, Freedom Rider of Fresno joined with the United States
17   on April 2, 2008, in a Motion for Interlocutory Sale alleging a lien
18   holder interest in item (a) listed above.
19         AND WHEREAS, the Court has been advised that no other third party
20   has filed a claim to the subject properties and the time for any person
21   or entity to file a claim has expired.
22         Accordingly, it is hereby ORDERED and ADJUDGED:
23         1.   A Final Order of Forfeiture shall be entered forfeiting to the
24   United States of America all right, title, and interest in the following
25   properties pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28
26   U.S.C. § 2461(c), to be disposed of according to law, including all
27   right, title, and interest of defendant George Buchholz:
28   ///

                                            2
          Case 1:06-cr-00171-DAD Document 406 Filed 08/15/08 Page 3 of 3


 1             a.    All net proceeds from the sale of the
                     2006 BMC Bobber 88 Motorcycle, VIN:
 2                   1B9HB28806B565050, Paper Tags2/;
 3             b.    A   2000  Suzuki   Hayabusa  GSX   1300
                     Motorcycle,   VIN:   JS1GW71A6Y2107464,
 4                   License Number 17S3017;
 5             c.    Approximately $3,100.00 in United States
                     Currency; and,
 6
               d.    One Savage Arms, .20 gauge shotgun,
 7                   Kimel Kamper Model KKI, serial number
                     D455526.
 8
 9        2.   All right, title, and interest in the above-listed properties
10   shall vest solely in the name of the United States of America.
11        3.   The U.S. Marshals Service and/or the Bureau of Alcohol,
12   Tobacco, Firearms and Explosives shall maintain custody of and control
13   over the subject properties until they are disposed of according to law.
14        4.   Within thirty (30) days from entry of this Final Order of
15   Forfeiture forfeiting the above-listed property, the U.S. Marshals
16   Service shall return the following to defendant George Buchholz through
17   his attorney J. M. Irigoyen at 2131 Amador Street, Fresno, CA 93721,
18   telephone (559) 233-3333:
19             a.    1999 Custom Motorcycle, VIN: 5CDFKB524XG001186, License
                     Number 17E1659.
20
21        SO ORDERED THIS 8th day of August, 2008.
22
23                                    /s/ OLIVER W. WANGER
                                      OLIVER W. WANGER
24                                    United States District Judge
25
26
27
     2/ See the Motion for Interlocutory Sale filed on April 2, 2008 (Doc.
28      319).

                                           3
